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                             UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA                                     )
                                                             )
                 v.                                          )        No. 1: 19-cr-10459-RWZ-37
                                                             )
LUIS MENDEZ                                                  )



      DEFENDANT’S OBJECTION TO EXCLUSION OF TIME UNDER THE
                        SPEEDY TRIAL ACT

        The Court held a status conference regarding the above-referenced matter on

April 7, 2020, ultimately scheduling a further status conference on June 9, 2020. During

the April 7, 2020 conference, the Court inquired whether any defendant objected to the

exclusion of time under the Speedy Trial Act. Undersigned counsel objected and

requested leave to submit a written objection, which the Court granted.

        The Defendant, Luis Mendez, made his initial appearance before the Court on

January 31, 2020 and was ordered detained. [D.E. 423]. An initial status conference was

conducted on February 3, 2020, at which time the Court scheduled a further status

conference for April 7, 2020.        [D.E. 449]. The Defendant did not raise an objection at

that time, as it was anticipated that discovery would be forthcoming and time would be

needed to review it. However, between February 3, 2020 and April 7, 2020, no discovery

was produced.1




1
  The Defendant acknowledges that delay in the production of discovery arose when the parties could not
reach agreement on a protective order.
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       The Defendant, who remains detained, is dissatisfied with the pace at which the

case is proceeding. He therefore objects to the exclusion of time under the Speedy Trial

Act for the period between April 8, 2020 and June 9, 2020 in order to safeguard his Sixth

Amendment right to a speedy trial.

                                                           Respectfully submitted,

                                                           /s/ Scott Lauer
                                                           Scott Lauer
                                                           B.B.O.# 667807
                                                           Assistant Federal Public Defender
                                                           Federal Defender Office
                                                           51 Sleeper Street, 5th Floor
                                                           Boston, MA 02210
                                                           Tel: 617-223-8061


                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on April 9, 2020.

                                                      /s/ Scott Lauer
                                                      Scott Lauer




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